                           NOT FOR PUBLICATION                           FILED
                    UNITED STATES COURT OF APPEALS                       AUG 27 2024
                                                                      MOLLY C. DWYER, CLERK
                                                                       U.S. COURT OF APPEALS
                           FOR THE NINTH CIRCUIT

ANTONIO EDIOR PIERRE,                           No. 24-1323
                                                D.C. No.
             Petitioner - Appellant,            5:23-cv-02606-ODW-JDE
 v.
                                                MEMORANDUM*
MERRICK B. GARLAND, Attorney
General; M. BOWEN, Warden,

             Respondents - Appellees.

                   Appeal from the United States District Court
                       for the Central District of California
                   Otis D. Wright, II, District Judge, Presiding

                           Submitted August 20, 2024**

Before:      S.R. THOMAS, RAWLINSON, and COLLINS, Circuit Judges.

      Antonio Edior Pierre appeals pro se from the district court’s order

summarily dismissing his petition for writ of habeas corpus under 28 U.S.C.

§ 2241, and the denial of his motion to reconsider. We have jurisdiction under



      *
             This disposition is not appropriate for publication and is not precedent
except as provided by Ninth Circuit Rule 36-3.
      **
             The panel unanimously concludes this case is suitable for decision
without oral argument. See Fed. R. App. P. 34(a)(2).
28 U.S.C. §§ 1291 and 2253. We review de novo a district court’s determination

that it does not have jurisdiction over a habeas corpus petition. Nettles v. Grounds,

830 F.3d 922, 927 (9th Cir. 2016) (en banc). We review for abuse of discretion the

denial of a motion to reconsider. Rishor v. Ferguson, 822 F.3d 482, 495 (9th Cir.

2016). We affirm.

      The district court did not err in dismissing without prejudice Pierre’s habeas

petition where it lacked jurisdiction to review his removal order or claims for relief

from removal. See Alvarez-Barajas v. Gonzales, 418 F.3d 1050, 1052 (9th Cir.

2005) (REAL ID Act “eliminated habeas jurisdiction, including jurisdiction under

28 U.S.C. § 2241, over final orders of . . . removal”); see also 8 U.S.C.

§ 1252(a)(5) (notwithstanding § 2241 or any other habeas provision, “a petition for

review filed with an appropriate court of appeals . . . shall be the sole and exclusive

means for judicial review of an order of removal”).

      The district court did not abuse its discretion in denying Pierre’s motion to

reconsider where Pierre failed to provide any basis for the district court to grant his

motion. See Sch. Dist. No. 1J, Multnomah County, Or. v. ACandS, Inc., 5 F.3d

1255, 1262-63 (9th Cir. 1993) (standard of review and grounds for reconsideration

under Federal Rules of Civil Procedure 59(e) and 60(b)).

      We lack jurisdiction to consider any challenge to Pierre’s removability,

including his claim to citizenship, because Pierre has not petitioned for review of



                                         2                                    24-1323
any final order of removal. See Iasu v. Smith, 511 F.3d 881, 890-91 (9th Cir.

2007) (no jurisdiction to review a deportation decision where petitioner failed to

petition for review of a final order of removal).

      All pending motions are denied as moot.

      AFFIRMED.




                                         3                                  24-1323
